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                                      UNITED STATES BANKRUPTCY COURT
                                       WESTERN DISTRICT OF MICHIGAN




IN RE:   CATHERINE L KANIA                                                   CASE NO: BL-20-02622
         1259 SWEETWOOD DR                                                   Chapter 13
         OKEMOS, MI 48864-0308                                               HON. JAMES W. BOYD
                                                                             Filed: August 12, 2020

                                                                             Confirmed:   November 07, 2020




                        TRUSTEE'S MOTION TO DISMISS CHAPTER 13 CASE
         NOW COMES, Barbara P. Foley, Chapter 13 Trustee ("Trustee") and files her Motion to Dismiss for the

following reasons:

         FAILURE TO MAKE PAYMENTS ACCORDING TO THE CHAPTER 13 PLAN. THE LAST PAYMENT OF
         $435.50 WAS RECEIVED ON MARCH 23, 2021. PAYMENTS SHOULD BE $435.50 SEMI -MONTHLY.
         THE PLAN ARREARS ARE $2,177.50.

         WHEREFORE, your Trustee respectfully prays:

         A. That this Court enter an Order dismissing the Debtor 's Chapter 13 Case.

         B. That this Court grant such other relief as it finds just and equitable.

         C. Upon dismissal of the Chapter 13 case, the Trustee has cause pursuant to 11 U.S. C. § 349(b) and

             may retain any funds on hand for such time as is necessary to accommodate the dishonor or recall

             period appropriate to the method of payment received.



May 25, 2021                                                         /s/ Barbara P. Foley
                                                                    Barbara P. Foley (P34558)
                                                                    CHAPTER 13 TRUSTEE
                                                                    Po Box 51109
                                                                    Kalamazoo, MI 49005
                                                                    (269)343-0305

This document has been electronically filed with the Court and the Attorney for Debtor and mailed to the Debtor.

Attorney for Debtor:

         DEBT RELIEF LEGAL CLINIC
         4710 W SAGINAW STE C
         LANSING, MI 48917
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                                      UNITED STATES BANKRUPTCY COURT
                                       WESTERN DISTRICT OF MICHIGAN



CATHERINE L KANIA                                                            CASE NO: BL-20-02622
1259 SWEETWOOD DR                                                            Chapter 13
OKEMOS, MI 48864-0308                                                        HON. JAMES W. BOYD
                                                                             Filed: August 12, 2020
                                      NOTICE OF MOTION TO DISMISS

        NOTICE IS HEREBY GIVEN that the Chapter 13 Trustee has filed a Motion to Dismiss in the above

captioned proceeding. A copy of said Motion is attached to this Notice.

        Your rights may be affected. You should read these papers carefully and discuss them with your

attorney, if you have one in this bankruptcy case. (If you do not have an attorney, you may wish to consult

one.)

          The Debtor may file a written objection to the Trustee 's Motion to Dismiss with:




Clerk of the Bankruptcy Court                                      Barbara P. Foley
One Division Avenue N                                              Chapter 13 Trustee
                                                  AND
Room 200                                                           Po Box 51109
Grand Rapids, MI 49503                                             Kalamazoo, MI 49005
                                                                   (269)343-0305

        In compliance with Local Bankruptcy Rule 9013(d) and Federal Rules of Bankruptcy Procedure 9013 and

9014, said written objection shall be filed within thirty (30) days from the date of service of the Trustee 's Motion. If

an objection is filed, a hearing will be held on July 21, 2021 at 9:00 am at the Bankruptcy Court, 315 W. Allegan,

Room 101, U.S. Post Office & Courthouse, Lansing, Michigan. If a proper objection is not timely filed the Trustee

may file with the Court an Affidavit of No Response together with a proposed Order to Dismiss. The Court shall

enter the Order without a hearing upon receipt of the Affidavit.



Served by: BJH       on: 05/25/2021
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                            UNITED STATES BANKRUPTCY COURT
                             WESTERN DISTRICT OF MICHIGAN




IN RE:    CATHERINE L KANIA                                     CASE NO: BL-20-02622
                                                                Chapter 13
                                                                HON. JAMES W. BOYD
                                                                Filed: August 12, 2020

                                    PROOF OF SERVICE

     On the date below, I mailed a copy of the TRUSTEE'S MOTION TO DISMISS by regular
first class mail to Debtor and electronic service on Debtor's Attorney .

CATHERINE L KANIA
1259 SWEETWOOD DR
OKEMOS, MI 48864-0308
DEBT RELIEF LEGAL CLINIC
4710 W SAGINAW STE C
LANSING, MI 48917
    I declare that the above statements are true to the best of my information , knowledge, and
belief.


Dated:    May 25, 2021                                 /s/ Beckie Hadley
                                                       Assistant to Barbara P. Foley
                                                       Chapter 13 Trustee
                                                       PO BOX 51109
                                                       KALAMAZOO, MI 49005
                                                       (269)343-0305
